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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

  DR. DOROTHY NAIRNE, et al.,
                                                   Civil Action No. 3:22-cv-00178-SDD-SDJ
          Plaintiffs,

  v.                                               Chief Judge Shelly D. Dick

  NANCY LANDRY, in her official capacity
  as Secretary of State of Louisiana,              Magistrate Judge Scott D. Johnson

          Defendant.



                        [PROPOSED] ORDER
   GRANTING EX PARTE MOTION FOR LEAVE TO PARTICIPATE REMOTELY


       Upon consideration of the Ex Parte Motion for Leave to Participate Remotely submitted

by counsel to Legislative Intervenors, the motion is found well-taken and is GRANTED.

       Counsel for Legislative Intervenors may appear by telephone at the February 21, 2024,

scheduling conference in this matter. Participant instructions will be sent separately by email.

       IT IS SO ORDERED.

       Signed at Baton Rouge, Louisiana, this _____ day of February, 2024.



                                              __________________________________________
                                              CHIEF JUDGE SHELLY D. DICK
                                              UNITED STATES DISTRICT COURT
